Case 1:18-cv-20818-DPG Document 692 Entered on FLSD Docket 03/22/2019 Page 1 of 2



                         UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF FLORIDA
                                  Miami Division


  PDVSA U.S. LITIGATION TRUST,

                    Plaintiff,

              v.

  LUKOIL    PAN    AMERICAS      LLC;  LUKOIL
  PETROLEUM LTD.; COLONIAL OIL INDUSTRIES,
  INC.; COLONIAL GROUP, INC.; GLENCORE LTD.;
  GLENCORE INTERNATIONAL A.G.; GLENCORE
  ENERGY UK LTD.; MASEFIELD A.G.; TRAFIGURA
  A.G.; TRAFIGURA TRADING LLC; TRAFIGURA
  BEHEER B.V.; VITOL ENERGY (BERMUDA) LTD.;
  VITOL S.A.; VITOL, INC.; FRANCISCO MORILLO;
  LEONARDO BAQUERO; DANIEL LUTZ; LUIS
                                                     Case No. 1:18-CV-20818 (DPG)
  LIENDO; JOHN RYAN; MARIA FERNANDA
  RODRIGUEZ;     HELSINGE     HOLDINGS,   LLC;
  HELSINGE, INC.; HELSINGE LTD., SAINT-HÉLIER;
  WALTROP CONSULTANTS, C.A.; GODELHEIM,
  INC.; HORNBERG INC.; SOCIETE DOBERAN, S.A.;
  SOCIETE HEDISSON, S.A.; SOCIETE HELLIN, S.A.;
  GLENCORE DE VENEZUELA, C.A.; JEHU HOLDING
  INC.; ANDREW SUMMERS; MAXIMILIANO
  POVEDA; JOSE LAROCCA; LUIS ALVAREZ;
  GUSTAVO GABALDON; SERGIO DE LA VEGA;
  ANTONIO MAARRAOUI; CAMPO ELIAS PAEZ;
  PAUL ROSADO; BAC FLORIDA BANK; EFG
  INTERNATIONAL        A.G.;    BLUE    BANK
  INTERNATIONAL N.V.,

                    Defendants.



                                  NOTICE OF APPEAL
Case 1:18-cv-20818-DPG Document 692 Entered on FLSD Docket 03/22/2019 Page 2 of 2



         Notice is hereby given that Plaintiff PDVSA U.S. Litigation Trust hereby appeals to the

  United States Court of Appeals for the Eleventh Circuit from each and every part of the Amended

  Order entered in this action on the 19th day of March, 2019 which granted Defendants’ motion to

  dismiss (Dkt. No. 684) and from each and every part of the Order entered in this action on the 19th

  day of March, 2019 which granted Defendants’ motion, by order to show cause, for sanctions

  against Plaintiff and other relief (Dkt. No 685) and from all prior orders and decisions.

  Dated: March 22, 2019                                 BOIES SCHILLER FLEXNER LLP


                                                        By: /s/ Steven W. Davis
                                                        Steven W. Davis (Bar No. 347442)
                                                        Stephen N. Zack (Bar No. 145215)
                                                        Bank of America Tower
                                                        100 Southeast 2nd St., Suite 2800
                                                        Miami, FL 33131
                                                        Tel: (305) 539-8400
                                                        Fax: (305) 539-1307

                                                        David Boies
                                                        Helen M. Maher
                                                        333 Main Street
                                                        Armonk, New York 10504
                                                        Tel: (914) 749-8200
                                                        Fax: (914) 749-8300

                                                        Nicholas A. Gravante, Jr.
                                                        David A. Barrett
                                                        Marilyn Kunstler
                                                        Ellen Brockman
                                                        Alexander Boies
                                                        55 Hudson Yards
                                                        New York, New York 10001
                                                        Tel: (212) 446-2300
                                                        Fax: (212) 446-2350

                                                        George F. Carpinello
                                                        Teresa A. Monroe
                                                        30 S. Pearl Street, 11th Floor
                                                        Albany, New York 12207
                                                        Tel: (518) 434-0600
                                                        Fax: (518) 434-0665


                                                   2
